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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

         UNITED STATES OF AMERICA,
                   Plaintiff

                                                         CIVIL CASE NO. 19-1930 (PAD)
                          v.

         FUNDS IN THE AMOUNT OF
     $53,082,824.19.00 IN U.S. CURRENCY,
      CONTAINED IN THE FOLLOWING
     ACCOUNTS UNDER THE NAME OF
    BANCO SAN JUAN INTERNATIONAL:
      a. xxx-x7689 – MERRILL LYNCH
     ADDRESS: #15 SECOND ST., SUITE
      210, GUAYNABO, PR 00968, UP TO
                $10,000,000.00;

      b. xxx-x7059 – MERRILL LYNCH
      ADDRESS: 225 LIBERTY ST., 41ST
      FL, NEW YORK, NY 10281, UP TO
             $5,000,000.00; AND

     c.    FEDERAL RESERVE BANK
     OF NEW YORK ACCOUNT # xxxx-
        x228-6, UP TO $38,082,824.19,

                     Defendant.

               UNITED STATES OF AMERICA’S MOTION TO RESTRICT

TO THE HONORABLE COURT:

         COMES NOW, the United States of America, by and through its undersigned attorneys,

and files this motion to restrict United States’ Response in Opposition to Claimant’s Motion to

Dismiss for Failure to State a Claim at Docket No. 19, for the reasons more specifically set forth

below:

         In compliance with the requirements of this Court’s Standing Order No. 9, dated January

30, 2013, the United States respectfully requests that the Pleading be accepted by the Court for
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Civil Case No. 19-1930 (PAD)


filing with the following level of restriction: SELECTED PARTIES: Limiting viewing to the

attorney filing the document, attorney for the Claimant and the Court.

       The United is filing the Pleading with the requested level of restriction, because the level

of restriction requested is necessary to protect the confidentiality of information contained in a

sealed case referenced by the claimant.

       As more fully set forth in the Pleading, the protection of the information detailed therein,

outweighs the presumption of public access.

       WHEREFORE, the United States respectfully prays the Court accept and file the Pleading

under the requested restriction level, and that an ORDER issue directing the Pleading to remain

under such restriction level until further order by the Court.

                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk of

the Court using the CM/ECF system, which automatically sends copies to all appearing parties.

       RESPECTFULLY REQUESTED.

       In San Juan, Puerto Rico, this 27th day of November 2019.

                                                      W. STEPHEN MULDROW
                                                      United States Attorney

                                                      s/David O. Martorani-Dale
                                                      David O. Martorani-Dale
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